8:04-cr-00316-LSC-SMB         Doc # 288         Filed: 04/27/11    Page 1 of 1 - Page ID # 945




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )        Case No. 8:04CR316
                                            )
                     Plaintiff,             )              ORDER
                                            )        TO WITHDRAW EXHIBITS
              vs.                           )        OR TO SHOW CAUSE WHY
                                            )        EXHIBITS SHOULD NOT BE
GARY L. NAPIER, JR.,                        )             DESTROYED
                                            )
                     Defendant.             )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for the parties shall either

1) withdraw the following exhibits previously submitted in this matter within 15 calendar

days of the date of this order, or 2) show cause why the exhibits should not be destroyed:



           Defendant’s Exhibit No. 101              Motion Hearing         08/20/2004




       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 27th day of April, 2011.

                                                            BY THE COURT’



                                                            s/ Laurie Smith Camp
                                                            United States District Judge


                         proc\Exhibits\Form-Order to Withdraw or OSC Destroy, appeal time expired.wpd
                                                                                  Approved 02/15/07
